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                   Exhibit A
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                                                                  Exhibit A



                           CreditorName            CreditorNoticeName   Address1            City        State Zip
                           Broadridge              Receiving Dept       51 Mercedes Way     Edgewood NY       11717
                           The Depository Trust Co Robert Giordano      570 Washington Blvd Jersey City NJ    07310




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                   Exhibit B
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                                                              Exhibit B


                           Issuer                Description                    CUSIP       ISIN
                           SiTV LLC/SiTV Finance 10.375% Secured Notes (144A)   78428J AA 6 US78428JAA60
                           SiTV LLC/SiTV Finance 10.375% Secured Notes (REGS)   U82774 AA 5 USU82774AA52




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                   Exhibit C
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                                                                          Exhibit C



CreditorName                                CreditorNoticeName   Address1                      Address2                      City           State   Zip
BNP Paribas NY Branch                       Dean Galli           525 Washington Blvd 9th Fl                                  Jersey City    NJ      07310
Citibank NA                                 Sandra Hernandez     3800 Citibank Center B3 12                                  Tampa          FL      33610
Goldman Sachs & Co                          Gloria Lio           30 Hudson St                                                Jersey City    NJ      07302-4699
Interactive Broker Retail Equity Clearing   Karin McCarthy       8 Greenwich Office Park       2nd Fl                        Greenwich      CT      06831
J P Morgan Clearing Corp                    Proxy Dept Manager   14201 Dallas Parkway                                        Dallas         TX      75254
JPMorgan Chase Bank NA                      Reorg Dept           14201 Dallas Parkway                                        Dallas         TX      75254
Morgan Stanley & Co Inc                     Robert Cregan        One New York Plaza            7th Fl                        New York       NY      10004
Morgan Stanley Smith Barney                 Suzanne Mundle       Harborside Financial Center   230 Plaza Three 6th Fl        Jersey City    NJ      07311
Northern Trust Co                           Stella Castaneda     801 S Canal St                Attn Capital Structures C1N   Chicago        IL      60607
Pershing LLC Securities Corporation         Scott Reifer         1 Pershing Plaza                                            Jersey City    NJ      07399-0000
State Street Bank and Trust Co              Corporate Action     Corp Actions JAB5E            1776 Heritage Dr              North Quincy   MA      02171-0000
US Bank NA                                  Matt Lynch           1555 N Rivercenter Dr         S302                          Milwaukee      WI      53212
Wells Fargo Securities, LLC                 Steve Turner         1525 W WT Harris Blvd         Corp Actions NC0675           Charlotte      NC      28262




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 CreditorName                                              CreditorNoticeName                              Address1                                 Address2                     Address3   City            State   Zip          Country
 20 W KINZIE TENANT                                                                                        20 WEST KINZIE STREET                                                            CHICAGO         IL      60654
 24 SEVEN, LLC                                                                                             105 Maxess Road                          Suite 201                               Melville        NY      11747
 4COM, Inc.                                                                                                1660 South Highway 100, Suite 590                                                Minneapolis     MN      55416
 7 BEYOND MEDIA RIGHTS LTD                                                                                 78 MERRION SQUARE SOUTH                                                          DUBLIN                               IRELAND
 700 N. CENTRAL PROPERTY, LLC                              MSC 570                                         PO BOX 29072                                                                     PHOENIX         AZ      85038
 A-1 Self Storage                                                                                          4427 San Fernando Road                                                           GLENDALE        CA      91204
 ACE American Insurance Co                                                                                 PO Box 1000                                                                      Philadelphia    PA      19105-1000
 Actuarial Benefits Corp                                                                                   2790 Skypark Drive, Ste 300                                                      TORRANCE        CA      90505
                                                           Nicole Mirabella, Associate, HR &
 Addison Group, LLC                                        Administration, Addison Group                   125 S. Wacker Dr.                        27th Floor                              Chicago         IL      60606
 ADOBE SYSTEMS INC.                                                                                        29322 Network Place                                                              CHICAGO         IL      60673-1293
 Adobe Systems Incorporated                                Adobe Systems Incorporated (ADUS)               345 Park Avenue                                                                  San Jose        CA      95110
 Adobe Systems Incorporated                                Attn Contract Operations Group                  3900 Adobe Way                                                                   Lehi            UT      84043
                                                                                                           Adobe Systems Software Ireland           4-6 Riverwalk, City West
 Adobe Systems Incorporated                                Attn Contract Operations Group                  Limited                                  Business Campus                         Dublin                  24         Ireland
 AFCO Acceptance Corporation                                                                               8885 Rio San Diego Drive, Suite 347                                              San Diego       CA      92108
 AFLAC                                                                                                     1932 Wynnton Road                                                                Columbus        GA      31999
 AKIN GUMP STRAUSS HAUER                                                                                   DEPT 7247-6838                                                                   PHILADELPHIA    PA      19170-6838
 ALKEMY X INC                                                                                              601 WALNUT STREET SUITE 1050                                                     PHILADELPHIA    PA      19106
 American Society of Composers, Authors and                Attn Clara Kim, Esq., Executive Vice
 Publishers                                                President and General Counsel                   One Lincoln Plaza                        1900 Broadway                           New York        NY      10023
 American Society of Composers, Authors and                Attn Vincent Candilora, Executive Vice
 Publishers                                                President Licensing                             2 Music Square West                                                              Nashville       TN      37203
 Andrita Studios, Inc.                                                                                     3030 Andrita Street                                                              Los Angeles     CA      90065
 ANY MOMENT INC                                                                                            10700 RANCH ROAD                                                                 CULVER CITY     CA      90230
 APPLE FINANCIAL SERVICES                                                                                  PO BOX 790448                                                                    ST LOUIS        MO      63179-0448
 APPLE, INC                                                                                                PO BOX 846095                                                                    DALLAS          TX      75284-6095
 Argo Systems, Inc.                                                                                        2970 Peachtree Road                      Suite 800                               Atlanta         GA      30305
 Arturo Marquez                                                                                            5016 Harbor Street                                                               Los Angeles     CA      90040
 Assignment Desk Inc.                                                                                      665 Johnnie Dodds Blvd.                  Suite 300                               Mt. Pleasant    SC      29464
 Association of National Advertisers, Inc                                                                  708 Third Avenue, 33rd Floor                                                     NEW YORK        NY      10017
 AT&T ADWORKS                                                                                              PO BOX 5098                                                                      CAROL STREAM    IL      60197-5098
 AT&T Services, Inc.                                                                                       530 McCullough Street                                                            San Antonio     TX      78215

 AT&T Services, Inc., on behalf of itself and its Affiliates Attn IP Video Counsel                         1025 Lenox Park Blvd., 5th Floor, C562                                           Atlanta         GA      30319-5309

 AT&T Services, Inc., on behalf of itself and its Affiliates Attn IP Video Counsel                         500 McCullough                                                                   San Antonio     TX      78215

 AT&T Services, Inc., on behalf of itself and its Affiliates Attn President, Content & Advertising Sales   1880 Century Park E., Ste. 1101                                                  Los Angeles     CA      90067

 AT&T Services, Inc., on behalf of itself and its Affiliates Attn Sr. Contract Manager                     4119 Broadway, Room 650A16                                                       San Antonio     TX      78209

 AT&T Services, Inc., on behalf of itself and its Affiliates Attn Sr. Contract Manager                     530 McCullough                                                                   San Antonio     TX      78215

 AT&T Services, Inc., on behalf of itself and its Affiliates Attn Vice President Programming               1880 Century Park E., Ste. 1101                                                  Los Angeles     CA      90067
 Auspitz, Sara                                               c/o Fuse Media                                700 N. Central Ave., Suite 600                                                   Glendale        CA      91203
                                                             Banijay Director of Legal and Business        Gloucester Building, Kensington Village,
 Banijay Rights Limited                                      Affairs                                       Avonmore Road                                                                    London                  W14 8RF      United Kingdom
                                                                                                           Gloucester Building, Kensington Village,
 Banijay Rights Limited                                    cc CEO Banijay Rights                           Avonmore Road                                                                    London                  W14 8RF    United Kingdom
 BANK OF AMERICA                                                                                           PO BOX 15731                                                                     WILMINGTON      DE      19886-5731
 BARON DAVIS                                                                                               2140 STEWART ST                                                                  SANTA MONICA    CA      90404
 Baycap LLC                                                                                                423 S. Pacific Coast Hwy, Suite 201                                              Redondo Beach   CA      90277
 BB&T COMMERCIAL EQUIPMENT CAPITAL                                                                         PO BOX 896534                                                                    CHARLOTTE       NC      28289-6534
 Beazley Insurance Services                                                                                333 West Wacker Drive                                                            Chicago         IL      60606
 BENEFIT RESOURCE, INC                                     ATTN ACCOUNTS RECEIVABLE                        245 KENNETH DRIVE                                                                ROCHESTER       NY      14623
 Black, Sophia                                                                                             1203 40TH STREET                         APT 1                                   BROOKLYN        NY      11218
 Blue Shield of California                                                                                 PO Box 749415                                                                    LOS ANGELES     CA      90074-9415
 BONDED SERVICES                                                                                           504 JANE STREET                                                                  FORT LEE        NJ      07024
 BOW - BUSINESS ON THE WEB                                                                                 2109 CORTE RICARDO                                                               PLEASANTON      CA      94566
                                                                                                                                                    222 S. Riverside Plaza,
 BRE Brand Central Holdings L.L.C.                         Attn Lease Administration                       Equity Office                            Suite 2000                              Chicago         IL      60606
                                                                                                                                                    1810 Gateway Drive, Suite
 BRE Brand Central Holdings L.L.C.                         Attn Managing Counsel                           Equity Office                            230                                     San Mateo       CA      94404
                                                                                                                                                    970 W. 190th Street, Suite
 BRE Brand Central Holdings L.L.C.                         Attn Regional Finance Group - MLA               Equity Office                            110                                     Torrance        CA      90502




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 CreditorName                                             CreditorNoticeName                         Address1                               Address2                    Address3         City                State   Zip          Country
                                                                                                     7 World Trade Center, 250 Greenwich
 Broadcast Music, Inc.                                    Attn General Counsel                       Street                                                                              New York            NY      10007-0030
                                                                                                     7 World Trade Center, 250 Greenwich
 Broadcast Music, Inc.                                    Attn Senior Vice President, Licensing      Street                                                                              New York            NY      10007-0030
                                                                                                     366 ADELAIDE STREET WEST -
 BRUNICO MARKETING INC.                                   C/O BRUNICO COMMUNICATIONS LTD             SUITE 100                                                                                               ON      M5V 1R9    CANADA
 Buena Vista Television                                   Attn Director, Contract Administration     500 South Buena Vista Street                                                        Burbank             CA      91521-3933
 Buena Vista Television                                   Jon Kolbeck                                500 South Buena Vista Street                                                        Burbank             CA      91521-3933
 Bunch, Gregory                                           c/o Fuse Media                             700 N. Central Ave., Suite 600                                                      Glendale            CA      91203
 BVI / Barshop                                            Bruce Barshop                              10001 Reunion Place                    Suite 230                                    San Antonio         TX      78216
 CABLE AUDIT ASSOCIATES                                                                              5775 DTC BLVD, SUITE 400                                                            GREENWOOD VILLAGE   CO      80111
 Cable Audit Associates, Inc., d/b/a Media Audits
 International                                            Attn Mr. Bruce Lazarus                     5340 South Quebec Street, Suite 100                                                 Greenwood Village   CO      80111-1910
 Cabrera, Dan                                             c/o Fuse Media                             700 N. Central Ave., Suite 600                                                      Glendale            CA      91203
                                                          California Department of Tax and Fee
 California Department of Tax and Fee Administration      AdministrationReturn Processing Branch     P.O. Box 942879                                                                     Sacramento          CA      94279-6001
 California Dept of Tax & Fee Admin                                                                  P.O. Box 942879                        Return Processing Branch                     Sacramento          CA      94279
                                                          Campanario Entertainment LLC c/o The Film
 Campanario Entertainment LLC                             Sales Company                             Attention Andrew Herwitz                515 East 118th Street                        New York            NY      10035
 Canadian Broadcasting Corporation                        Attn Gwen Jones McCauley                  P.O. Box 500, Station A                                                              Toronto             ON      M5W 1E6      Canada
 Career Group Inc.                                                                                  10100 CA-2                              Suite 900                                    Los Angeles         CA      90067
 Carnegie Cable Company, Inc.                             Gary L. Woodruff, Vice President          PO Box 96                                                                            Carnegie            OK      73015
 CBS Television Distribution, a division of CBS Studios
 Inc., on behalf of Showtime Networks Inc.                Attn Business Affairs and Legal            2450 Colorado Avenue, Suite 500E                                                    Santa Monica        CA      90404
                                                                                                                                            8383 Wilshire Boulevard,
 CBS/Showtime                                             Lawrence M. Jacobson                       Glickfeld, Fields & Jacobson LLP       Suite 341                                    Beverly Hills       CA      90211

 Central Texas Cable Partner DBA Reveille Broadband                                                  PO Box 39                                                                           Lexington           TX      78947
 CenturyTel Broadband Services, LLC                 Attn Daren Miller                                700 West Mineral Avenue                                                             Littleton           CO      80120
                                                    Michael Steinkirchner, Vice President of
 Champion Broadband California, LLC                 Programming                                      380 Perry Street, Suite 230                                                         Castle Rock         CO      80104
 Changecause, inc. d/b/a Naytev                     DMCA Attn Copyright Agent                        322 6th St. #13                                                                     San Francisco       CA      94103
 Charter Communications Holding Company, LLC        Attn General Counsel                             Charter Communications, Inc.           400 Atlantic Street                          Stamford            CT      06901
                                                                                                                                            6399 South Fiddlers Green
 Charter Communications Holding Company, LLC              Attn SVP, Programming                      Fiddlers Green Center, 6th Floor       Circle                                       Greenwood Village   CO      80111
                                                          Attn Vice President, Associate General                                            6399 South Fiddlers Green
 Charter Communications Holding Company, LLC              Counsel, Programming                       Fiddlers Green Center, 6th Floor       Circle                                       Greenwood Village   CO      80111
                                                                                                     10201 Centurion Parkway North, Suite
 CIT Bank, N.A.                                                                                      100                                                                                 Jacksonville        FL      32256
                                                          Dena Rodriguez, Citibank, SVP Relationship
 Citi Commercial Bank                                     Manager                                    700 N Brand Blvd                                                                    Glendale            CA      91203
 CITIBANK                                                                                            PO BOX 6201                                                                         SIOUX FALLS         SD      57117-6201
 Citizens Telecom Services Company LLC (d/b/a             Attn Kevin Saville, VP & Associate General
 Frontier Communications Corporation)                     Counsel                                    2378 Wilshire Blvd.                                                                 Mound               MN      55364
 Citizens Telecom Services Company LLC (d/b/a             Attn Scott Abbott, VP, Video Strategy &
 Frontier Communications Corporation)                     Sales                                      401 Merritt 7                                                                       Norwalk             CT      06851

 City of Glendale                                         City of GlendaleBusiness Registration Center 8839 N. Cedar Ave                    #212                                         Fresno              CA      83720-1832
 City of Glendale                                                                                      8839 N. CEDAR AVE #212                                                            Fresno              CA      93720
 City of Los Angeles                                      City of Los AngelesOFFICE OF FINANCE         P.O. Box 513996                                                                   Los Angeles         CA      90051-3996
 COFFEE DISTRIBUTING CORP.                                                                             200 BROADWAY / PO BOX 766                                                         GARDEN CITY PARK    NY      11040-1055

 Cogent Valuation                                         Steven D. Kam, ASA, Managing Director      601 CALIFORNIA STREET SUITE 800                                                     SAN FRANCISCO       CA      94108
 Cogent Valuation                                                                                    226 COLE STREET                                                                     SAN FRANCISCO       CA      94117
 Colombia Capital                                         c/o Fuse Media                             700 N. Central Ave., Suite 600                                                      Glendale            CA      91203
 Columbia Capital Employee Investors III, LLC             Donald A. Doering                          204 South Union Street                                                              Alexandria          VA      22314
 Columbia Capital Equity Partners III (AI), LP            Donald A. Doering                          204 South Union Street                                                              Alexandria          VA      22314
 Columbia Capital Equity Partners III (Cayman), LP        Donald A. Doering                          204 South Union Street                                                              Alexandria          VA      22314
 Columbia Capital Equity Partners III (QP), L.P.          Donald A. Doering                          204 South Union Street                                                              Alexandria          VA      22314
 Columbia Capital Investors III, LLC                      Donald A. Doering                          204 South Union Street                                                              Alexandria          VA      22314
 Columbia Capital, LLC                                                                               204 S. Union Street                                                                 ALEXANDRIA          VA      22314

 Comcast Cable Communications Management, LLC, as                                                    Attention Senior Director, Business                                1899 Wynkoop
 successor in interest to Headend In the Sky, Inc. on behalf of itself and its affiliates            Affairs                                Comcast Wholesale           Street, 5th Floor Denver             CO      80202




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 Comcast Cable Communications Management, LLC, as                                                                                          Comcast Cable             One Comcast
 successor in interest to Headend In the Sky, Inc.  on behalf of itself and its affiliates          Attn General Counsel                   Communications, Inc.      Center        Philadelphia     PA      19103
 Comcast Cable Communications, Inc., on behalf of
 itself and its operating affiliates & subsidiaries General Counsel                                 1500 Market Street, 34th Floor                                                 Philadelphia     PA      19102
 Comcast Cable Communications, Inc., on behalf of   VP of Programming, Comcast Cable
 itself and its operating affiliates & subsidiaries Communications, Inc.                            1500 Market Street, 34th Floor                                                 Philadelphia     PA      19102
 Comcast Cable Communications, LLC                  Attn Content Acquisition Counsel                One Comcast Center, 54th Floor                                                 Philadelphia     PA      19103
                                                    Attn Executive Vice President, Content
 Comcast Cable Communications, LLC                  Acquisition                                     1500 Market Street                                                             Philadelphia     PA      19102
                                                    Attn Executive Vice President, Content
 Comcast Cable Communications, LLC                  Acquisition                                     One Comcast Center, 54th Floor                                                 Philadelphia     PA      19103
 Comcast Cable Communications, LLC                  Attn General Counsel                            1500 Market Street                                                             Philadelphia     PA      19102
 Comcast Cable Communications, LLC                  Attn Legal Department                           Rainbow Media Holdings, Inc.           1111 Stewart Avenue                     Bethpage         NY      11714
 Comcast Cable Communications, LLC                  Attn President                                  Rainbow Media Holdings, Inc.           1111 Stewart Avenue                     Bethpage         NY      11714
                                                    Jennifer Tryon Gaiski, Senior Vice President,
 Comcast Cable Communications, LLC                  Content Acquisition                             One Comcast Center                                                             Philadelphia     PA      19103
 Comcast Cable Communications, LLC (successor to
 Comcast Cable Communications, Inc.)                Attn General Counsel                            One Comcast Center, 50th Floor                                                 Philadelphia     PA      19103
 Comcast Cable Communications, LLC (successor to
 Comcast Cable Communications, Inc.)                Attn SVP of content Acquisition                 One Comcast Center, 54th Floor                                                 Philadelphia     PA      19103
                                                                                                    1271 Avenue of the Americas, 35th
 Complex Media, Inc.                                  Attn Business & Legal Affairs Dept.           Floor                                                                          New York         NY      10020
 Complex Media, Inc.                                  Attn Business & Legal Affairs Dept.           229 W. 43rd Street                     10th Floor                              New York         NY      10036
 comScore, Inc.                                       Attention General Counsel                     11950 Democracy Drive                  Suite 600                               Reston           VA      20190
 Concur Technologies, Inc.                            Attention Legal Department                    601 108th Avenue NE                    Suite 1000                              Bellevue         WA      98004
 County of Los Angeles, California                    Los Angeles County Tax Collector              P.O. BOX 54027                                                                 Los Angeles      CA      90054-0027
 Cox Communications, Inc.                             Attn Legal and Regulatory Department          1400 Lake Hearn Drive                                                          Atlanta          GA      30319

 Cox Communications, Inc.                             Attn Senior Vice President of Programming     1400 Lake Hearn Drive                                                          Atlanta          GA      30319
 Creative Circle                                                                                    5900 Wilshire Blvd                     11th Floor                              Los Angeles      CA      90036
 Crystal Broadband Networks                           Attn Shawn Smith                              P.O. Box 180336                                                                Chicago          IL      60618
 David M. Lewis Company LLC                                                                         21800 Oxnard Street                    Suite 980                               Woodland Hills   CA      91367
 Davila Multicultural Insights                        c/o Fuse Media                                700 N. Central Ave., Suite 600                                                 Glendale         CA      91203
 Davila Multicultural Insights                                                                      16101 Ventura Blvd, Suite 315                                                  ENCINO           CA      91436
 De Lage Landen Financial Services, Inc.              Lease Processing Center                       1111 Old Eagle School Road                                                     Wayne            PA      19087
 DEBORAH MILLER CATERING & EVENTS                                                                   3 MADISON STREET                                                               NEW YORK         NY      10038
 DEFY MEDIA, LLC                                                                                    DEPT CH 19589                                                                  PALATINE         IL      60055-9589
 DELAGE LANDEN FINANCIAL SVC                                                                        PO BOX 824018                                                                  PHILADELPHIA     PA      19182-4018
 DELTA DENTAL INSURANCE COMPANY                                                                     PO BOX 677006                                                                  DALLAS           TX      75267
 DELTA DENTAL OF CALIFORNIA                                                                         PO BOX 44460                                                                   SAN FRANCISCO    CA      94144
 DIRECTV, LLC                                         Attn General Counsel                          2230 East Imperial Highway                                                     El Segundo       CA      90245
 DIRECTV, LLC                                         Attn Senior Vice President, Programming       2230 East Imperial Highway                                                     El Segundo       CA      90245
 DIRECTV, LLC and AT&T Services, Inc.                 AT&T Services, Inc.                           2260 East Imperial Highway                                                     El Segundo       CA      90245
 DIRECTV, LLC and AT&T Services, Inc.                 DIRECTV, LLC                                  2260 East Imperial Highway                                                     El Segundo       CA      90245
 DirecTV, LLC and AT&T Services, Inc.                 Mark A. Romero & Christine E. Cwiertny        Crowell & Morning LLP                  3 Park Plaza, 20th Fl                   Irvine           CA      92614-8505
 DIRECTV, LLC and AT&T Services, Inc. on behalf of    Attn Content and Programming Legal
 itself and its affiliated companies                  Department                                    2260 East Imperial Highway                                                     El Segundo       CA      90245
 DIRECTV, LLC and AT&T Services, Inc. on behalf of
 itself and its affiliated companies                  Attn General Counsel                          2260 East Imperial Highway                                                     El Segundo       CA      90245
 DIRECTV, LLC and AT&T Services, Inc. on behalf of    Attn Senior Vice President, Content and
 itself and its affiliated companies                  Programming                                   2260 East Imperial Highway                                                     El Segundo       CA      90245
 DIRECTV, LLC and AT&T Services, Inc. on behalf of                                                                                         211 S Akard St, Cube
 itself and its affiliated companies                  Lightspeed Parner Management                  Attn Patricia Alverson                 1450.19                                 Dallas           TX      75202
 DISCOVERY BENEFITS                                                                                 PO Box 869                                                                     FARGO            ND      58106
 Discovery Commnications, LLC                                                                       One Discovery Place                                                            Silver Spring    MD      20910

 DISH Network L.L.C.                                  Attn Executive Vice President, Programming 9601 S. Meridian Boulevard                                                        Englewood        CO      80112

 DISH Network L.L.C.                                  Attn Executive Vice President, Programming P.O. Box 6655                                                                     Englewood        CO      80155
 DISH Network L.L.C.                                  Attn Office of the General Counsel         9601 S. Meridian Boulevard                                                        Englewood        CO      80112
 DISH Network L.L.C.                                  Attn Office of the General Counsel         P.O. Box 6655                                                                     Englewood        CO      80155

 DISH Network L.L.C.                                  Attn Vice President of Business Operations    9601 S. Meridian Boulevard                                                     Englewood        CO      80112
 DISH Network L.L.C.                                  Sling TV L.L.C.                               Attn Office of the General Counsel     P.O. Box 6655                           Englewood        CO      80155




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 CreditorName                                  CreditorNoticeName                          Address1                              Address2                     Address3   City               State    Zip          Country
                                                                                           Attn Vice President of Business
 DISH Network L.L.C.                           Sling TV L.L.C.                             Operations                            9601 S. Meridian Boulevard              Englewood          CO       80112
 DND                                           Thomas E. Dooley                            34 East 51st Street, 18 FL            18th Floor                              New York           NY       10022

 E.M. Rose Group, LLC d/b/a Rose Digital       Rose Digital, LLC                           The Yard                              33 West 60th St, STE 1111               New York           NY       10023
 EBFX, LLC                                                                                 21 Denniston Hill Rd.                 Ext. A                                  Glen Wild          NY       12738
 EchoStar                                      Ted Henderson                               9601 S. Meridian Boulevard                                                    Englewood          CO       80112
 EchoStar Satellite LLC                        Attn Office of the General Counsel          9601 South Meridian Boulevard                                                 Englewood          CO       80112
 EchoStar Satellite LLC                        Attn Senior Vice President, Programming     9601 South Meridian Boulevard                                                 Englewood          CO       80112
 ECN Financial LLC                                                                         655 Business Center Drive                                                     Horsham            PA       19044
 EcoSet Consulting, LLC                                                                    3019 Andrita Street                                                           Los Angeles        CA       90065
 Emmer Consulting, P.C.                                                                    7713 Oldchester Road                                                          BETHESDA           MD       20817
 Encompass Digital Media, Inc                                                              PO BOX 117087                                                                 ATLANTA            GA       30368-7807
 ENTERTAINMENT ONE REALITY PRODUCTIONS                                                     4201 WILSHIRE BLVD.                   SUITE 400                               LOS ANGELES        CA       90010
 ENTERTAINMENT ONE US LP                                                                   22 HARBOR PARK DRIVE                                                          PORT WASHINGTON    NY       11050
 ENTERTAINMENT PARTNERS                                                                    2835 N. NAOMI ST                                                              BURBANK            CA       91504
                                               Myra Cirinna, Executive Vice President,
 Entertainment Partners Services Group         Marketing & Sales                           2835 North Naomi Street                                                       Burbank            CA       91504-2024
 Epicor Software                                                                           PO BOX 204768                                                                 DALLAS             TX       75320-4768
 EVAN M. GREENSPAN                                                                         4181 SUNSWEPT DRIVE                   2ND FLOOR                               STUDIO CITY        CA       91604
 EVERBANK COMMERCIAL FINANCE                                                               PO BOX 911608                                                                 DENVER             CO       80291-1608
 EverBank Commercial Finance, Inc.             Omayra Torres, Account Manager              PO BOX 911608                                                                 DENVER             CO       80291
 EVERBANK COMMERCIAL FINANCE, INC.                                                         10 WATERVIEW BLVD.                    2ND FLOOR                               PARSIPPANY         NJ       07054
 Federal Communications Commission                                                         445 12th Street SW                                                            Washington         DC       20554
 First Choice Vending & Amusements                                                         3030 Carmel Street #D                                                         LOS ANGELES        CA       90065
 Franchise Tax Board                                                                       PO Box 942857                                                                 SACRAMENTO         CA       94257-0531

 FREEWHEEL MEDIA, INC.                                                                     301 HOWARD STREET - 19TH FLOOR                                                SAN FRANCISCO      CA       94105
 FREMANTLE MEDIA LIMITED                                                                   1 STEPHEN STREET                                                                                 LONDON   W1T 1AL    ENGLAND
 FTI CONSULTING, INC                                                                       PO BOX 418178                                                                 BOSTON             MA       02241-8178
 FuboTV, inc.                                  Attn Chief Executive Officer                304 S Park Ave                                                                New York           NY       10010
 Fullscreen, Inc.                                                                          12180 Millennium Drive                                                        Playa Vista        CA       90094
 Fuse, LLC                                     c/o Fuse Media                              700 N. Central Ave., Suite 600                                                Glendale           CA       91203
 Fuse, LLC                                     c/o Fuse Media                              700 N. Central Ave., Suite 600                                                Glendale           CA       91203
 Fuse, LLC                                     c/o Fuse Media                              700 N. Central Ave., Suite 600                                                Glendale           CA       91203
 Future Technology Staffing Inc.                                                           2000 Cliff Mine Road           Park West Two, Suite 401                       Pittsburgh         PA       15275
 Garcia, Julio                                 c/o Fuse Media                              700 N. Central Ave., Suite 600                                                Glendale           CA       91203
 GCI Cable, Inc.                               Attn Bob Ormberg                            5151 Fairbanks St.                                                            Anchorage          AK       99503
 Getty Images (US), Inc.                                                                   75 Varick Street, 5th Floor                                                   New York           NY       10013
                                               a Division of GfK US, LLC (f/k/a GfK
 GfK Mediamark Research & Intelligence         Mediamark Research & Intelligence, LLC)     200 Liberty St. 4th Floor                                                     New York           NY       10281
                                                                                           120 EASGLE ROCK AVENUE - SUITE
 GFK US LLC.                                                                               200                                                                           EAST HANDOVER      NJ       07936-3590
 GLOBE STORAGE AND MOVING CO. INC.                                                         665 BROADWAY - SUITE 301                                                      NEW YORK           NY       10012
                                               Russ Ridgeway, Director of Broadband
 Golden Rain Foundation                        Services                                    PO Box 2220                                                                   Laguna Woods       CA       92654
 GOOGLE LLC                                                                                DEPT 33654                            PO BOX 39000                            SAN FRANCISCO      CA       94139
 Grande Communications Networks, Inc.          Attn Diane Wigington                        401 Carlson Circle                                                            San Marcos         TX       78666
 Grande Communications Networks, Inc.          Attn Legal Department                       401 Carlson Circle                                                            San Marcos         TX       78666
 Greenberg, George                             c/o Fuse Media                              700 N. Central Ave., Suite 600                                                Glendale           CA       91203
 Greenscapes Inc                                                                           1721 Rogers Place, Unit 49-J                                                  BURBANK            CA       91504
 Guzman, Berto                                 c/o Fuse Media                              700 N. Central Ave., Suite 600                                                Glendale           CA       91203
 Hartford Fire Insurance Co.                                                               277 Park Ave                                                                  New York           NY       10172
 Hawaiian Telcom Services Company, Inc.        Attn Ernest Villicana                       1177 Bishop Street                                                            Honolulu           HI       96813
 HEATH GENERAL CONTRACTING INC                                                             28638 GREENWOOD PL                                                            CASTAIC            CA       91384
                                               Beckson Design Associates, John Heath,
 Heath General Contracting, Inc.               President                                   28638 GREENWOOD PLACE                                                         CASTAIC            CA       91384
 HEG Interests, LLC (legacy JMJD Investments   Stephen R Gunter and Anthonie C.
 Partnership)                                  Badenhorst                                  4265 San Felipe                       Suite 900                               Houston            TX       77027
 Hewlett-Packard Financial Services Company                                                200 Connell Drive, Suite 5000                                                 Berkeley Heights   NJ       07922
                                               Leilah Escalera, Esq. Escalera, Majchrowski
 Hey Kyle, LLC                                 & Clipp, PLLC                               45 Rockefeller Plaza                  Suite 2000                              New York           NY       10111
 Hiscox Insurance Company Inc                                                              104 South Michigan Avenue             Suite 600                               Chicago            IL       60630
 Hitachi Capital America Corp.                                                             7808 Creekridge Circle, Suite 250                                             Edina              MN       55439
 IBM Credit LLC                                                                            7100 Highlands Parkway                                                        Smyma              GA       30082




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 IHEART MEDIA                                                                                    12022 COLLECTIONS CENTRE DRIVE                                                CHICAGO         IL      60693
 iHeartMedia + Entertainment, Inc.                                                               125 West 55th Street, 11th Floor                                              New York        NY      10019
 IHEARTMEDIA ENTERTAINMENT, INC                                                                  20880 STONE OAK PARKWAY                                                       SAN ANTONIO     TX      78258
                                                      Department of Business ServicesLimited
 IL Dept of Business Services                         Liability Division                         501 S. Second St., Rm. 351                                                    Springfield     IL      62756
 Illinois Department of Revenue                                                                  P.O. Box 19031                                                                Springfield     IL      62794-9031
 ILLINOIS DEPARTMENT OF REVENUE                                                                  PO BOX 19006                                                                  SPRINGFIELD     IL      62794-9006
 ImageRights International, Inc.                                                                 51 Melcher St, 1st Floor                                                      Boston          MA      02210
 Internal Revenue Service                                                                        P.O. Box 7704                                                                 San Francisco   CA      94120-7704
 INVISION, Inc.                                                                                  28 West 44th Street, Suite 609                                                New York        NY      10036
 INVNT LLC.                                                                                      524 BROADWAY - 4TH FLOOR                                                      NEW YORK        NY      10012
 IRON MOUNTAIN                                                                                   PO BOX 601002                                                                 PASADENA        CA      91189-1002
 J.R. BERRY SEARCH GROUP, INC                                                                    1100 GLENDON AVE., SUITE 1210                                                 LOS ANGELES     CA      90024
 JBCconnect CA LLC                                    Jennifer Morrison                          108 West 39th Street                   7th Floor                              New York        NY      10018
 JBG Interests, LLC (legacy JMJD Investments          Stephen R Gunter and Anthonie C.
 Partnership)                                         Badenhorst                                 4265 San Felipe                        Suite 900                              Houston         TX      77027
 JPMORGAN CHASE BANK, NATIONAL
 ASSOCIATION, ASADMINISTRATIVE AND
 COLLATERAL AGENT                                                                                1111 FANNIN                            10TH FLOOR                             Houston         TX      77002
 Juno Films, Inc.                                     Attention Elizabeth Sheldon                940 Princeton-Kingston Rd.                                                    Princeton       NJ      08540
 Juno Search Partners, LLC                                                                       1218 Chestnut St                                                              Philadelphia    PA      19107
 JW Player / Longtail Ad Solutions, Inc.              Attn David Otten                           2 Park Ave.                            10th Floor                             New York        NY      10016
 KD Consulting LLC                                    Attention Kristin Davie                    40 Stephen Street                                                             Glen Ridge      NJ      07028
 KT Communications Consulting, Inc.                   Attn Kristy Thurman                        2409 Stadium Blvd.                                                            Columbia        MO      65202
 KYOLOGIC LLC                                                                                    37 NORTH AVE - SUITE 101                                                      NORWALK         CT      06851
 Layer3 TV, Inc.                                                                                 1660 Wynkoop Street, Suite 800                                                Denver          CO      80202
 LEAF Capital Funding, LLC                                                                       2005 Market Street, 14th Floor                                                Philadelphia    PA      19103
 LeftCenter Entertainment LLC                         Attention Sean Joell Johnson               107 Mountain Road                                                             Jersey City     NJ      07307
                                                      Dana Webber, President Legacy Distribution,
 Legacy Distribution, LLC                             LLC                                         160 Trowbridge Road                                                          Atlanta         GA      30350
 Leon, Ed                                             c/o Fuse Media                              700 N. Central Ave., Suite 600                                               Glendale        CA      91203
 Lewis, Randy                                         c/o Fuse Media                              700 N. Central Ave., Suite 600                                               Glendale        CA      91203
 Lions Gate Films Inc.                                Attn David Nonaka                           2700 Colorado Ave.                                                           Santa Monica    CA      90404
 LIPPIN GROUP                                                                                     11601 WILSHIRE BLVD, STE 1900                                                LOS ANGELES     CA      90025

 Llano Partners, Ltd.                                 Donna J. Charleson and G. Andrew Toups III 701 North Post Oak Road                Suite 635                              Houston         TX      77024
 LUCAS ASSOCIATES, INC                                                                           PO BOX 638364                                                                 CINCINNATI      OH      45263-8364
 Lucas Group                                                                                     1925 Century Park East                 Suite 750                              Los Angeles     CA      90067
                                                                                                 2 PENNSYLVANIA PLAZA - 14TH
 MADISON SQUARE GARDEN                                                                           FLOOR                                                                         NEW YORK        NY      10121
 Management Science Associates, Inc.                                                             6565 Penn Avenue                                                              Pittsburgh      PA      15206-4490
                                                      c/o Hansen, Jacobson, Teller, Hoberman,
                                                      Newman, Warren, Rush & Kaller, & Gellman
 Matador Content, LLC                                 L.L.P                                      450 North Roxbury Drive                8th Floor                              Beverly Hills   CA      90210
 McCormack, Tracey                                    c/o Fuse Media                             700 N. Central Ave., Suite 600                                                Glendale        CA      91203
 McGarrigan Media, furnishing the services of Lauri
 McGarrigan                                           Lauri McGarrigan                           704 4th St                                                                    Hermosa Beach   CA      90254
 Mediacom LLC and Mediacom Broadband LLC                                                         100 Crystal Run Rd.                                                           Middletown      NY      10941
 MEDIAOCEAN LLC                                                                                  PO BOX 28139                                                                  NEW YORK        NY      10087-8139
 MEDIARADAR, INC.                                                                                252 West 37th Street                                                          New York        NY      10018
 METRO GOLDWYN MAYER STUDIOS INC                      MGM DOMESTIC TV DISTRIBUTION INC           245 N. BEVERLY DRIVE                                                          BEVERLY HILLS   CA      90210-5317
 Metro-Goldwyn-Mayer                                                                             245 N. Beverly Drive - 5th Floor                                              Beverly Hills   CA      90210
                                                      Attn Adrian Lopez, SVP Business and Legal
 Miramax, LLC                                         Affairs                                   2450 Colorado Avenue, Suite 100E                                               Santa Monica    CA      90404
 Miramax, LLC                                         Attn Bob Osher, COO & General Counsel     1901 Avenue of the Starts, Suite 2000                                          Los Angeles     CA      90067
 Moctesuma Esparza                                    c/o Fuse Media                            700 N. Central Ave., Suite 600                                                 Glendale        CA      91203
 MSG HOLDINGS                                                                                   11 PENN PLAZA - 3 rd FLOOR                                                     NEW YORK        NY      10001
 MSG Holdings, L.P.                                   James L. Dolan, Executive Chairman        11 PENN PLAZA 3RD FLOOR                 ATTN NATALIE WELSH                     NEW YORK        NY      10001
 MSG NETWORKS                                                                                   P.O.BOX 9442                                                                   NEW YORK        NY      10087-9442
 MSGN HOLDINGS                                                                                  P.O. BOX 9442                                                                  NEW YORK        NY      10087-9442
                                                      Attn Bobby Samini, Esq. & Richard Morse,                                          2801 W. Coast Hwy., Suite
 Nappy Boy Productions, LLC                           Esq.                                      Samini Scheinberg, PC                   200                                    Newport Beach   CA      92663
 National Cable Television Cooperative, Inc.          Attn EVP, Programming                     11200 Corporate Avenue                                                         Lenexa          KS      66219
 National Cable Television Cooperative, Inc.          Attn General Counsel                      11200 Corporate Avenue                                                         Lenexa          KS      66219
 National Cable Television Cooperative, Inc.          Attn President                            11200 Corporate Avenue                                                         Lenexa          KS      66219




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 National Council of La Raza                               c/o Fuse Media                          700 N. Central Ave., Suite 600                                                   Glendale         CA        91203
 National Council of La Raza (NCLR)                                                                1126 16th Street, NW Suite 600         Raul Yzaguirre Bldg.                      WASHINGTON       DC        20036
 NATIONAL RESEARCH GROUP                                                                           5780 W JEFFERSON BLVD.                                                           LOS ANGELES      CA        90016
                                                           Kerri Norton, Vice President, Media &
 National Research Group Inc.                              Entertainment Strategy                  One World Trade Center                 Floor 62                                  New York         NY        10007
                                                           Attn Kevin Kenworthy, COO & EVP,
 National Telco Television Consortium, LLC                 Programming                             1780 Moriah Woods Blvd., Suite 1                                                 Memphis          TN        38117
 NAYTEV                                                                                            2261 MARKET STREET                     SUITE 5826BF-RCCL                         SAN FRANCISCO    CA        94114
 New Ulm Telecom, Inc. d/b/a NU-Telecom                    Attn Gergana Todorova                   27 N. Minnesota St.                                                              New Ulm          MN        56073
                                                           New York City Commission on Human
 New York City Commission on Human Rights                  RightsLaw Enforcement Bureau            22 Reade Street                                                                  New York         NY        10007
 New York Marine and General Insurance Company                                                     59 Maiden Lane                         27th Floor                                New York         NY        10038-4647
                                                           NYS DEPT OF TAXATION &
 New York State Department of Taxation and Finance         FINANCECORP-V                           PO BOX 18163                                                                     Albany           NY        12212-5163
 NIELSEN MEDIA RESEARCH                                                                            PO BOX 88961                                                                     CHICAGO          IL        60695-8961
 NIELSEN SOUNDSCAN                                                                                 PO BOX 88023, EXPEDITE WAY                                                       CHICAGO          IL        60695-0001
                                                                                                   Hirsch Wallerstein Hayum Matlof +      10100 Santa Monica
 Normandie Productions LLC                                 Attn Ryan Nord                          Fishman                                Boulevard, Suite 1700                     Los Angeles      CA        90067
 Normandie Productions LLC                                                                         5170 Santa Monica Blvd, 3rd Floor                                                Los Angeles      CA        90029
 Nuyorican Productions, Inc.                               Jennifer Lopez c/o Murphy & Kress       2401 Main Street                                                                 Santa Monica     CA        90405
 NYC Department of Finance                                                                         P.O. BOX 3922                                                                    New York         NY        10008-3922
 NYC DEPARTMENT OF FINANCE                                                                         PO BOX 3931                                                                      NEW YORK         NY        10008-3931
 Ole Media Management L.P. d/b/a Jingle Punks by its
 general partner Ole Media Management (GP) Inc.            Legal Counsel Doug Murray               120 Bremner Blvd                       Suite 2900                                Toronto          Ontario   M5J 0A8      Canada
 Ole Media Management L.P. d/b/a Jingle Punks by its
 general partner Ole Media Management (GP) Inc.            Shota Ike                               120 Bremner Blvd                       Suite 2900                                Toronto          Ontario   M5J 0A8    Canada
 One Penn Plaza LLC                                        Attn Chief Financial Officer            Vornado Office Management LLC          210 Route 4 East                          Paramus          NJ        07652
 One Penn Plaza LLC                                        Attn President - New York Division      Vornado Office Management LLC          888 Seventh Avenue                        New York         NY        10019
 Onward Search, Inc.                                                                               187 Danbury Road                                                                 Wilton           CT        06897
 OOYALA                                                                                            DEPT LA 23905                                                                    PASADENA         CA        91185-3905
 Ooyala, Inc.                                                                                      2099 Gateway Place, 6th Floor                                                    San Jose         CA        95110
 Oracle America, Inc.                                      Sales Rep Christopher N Jensen          500 Oracle Parkway                                                               Redwood Shores   CA        94065
 PALATIN MEDIA FILM                                                                                HOLZSTR 28                                                                       MUNICH                     80469      GERMANY
 Paramount Pictures Corporation                                                                    5555 Melrose Avenue                                                              Hollywood        CA        90038
 Perez, Leo                                                c/o Fuse Media                          700 N. Central Ave., Suite 600                                                   Glendale         CA        91203
 PERFORMANCE WORKS CONSULTING, LLC                                                                 1631 N. GENESEE                                                                  LOS ANGELES      CA        90046
 Peters, Rori                                              c/o Fuse Media                          700 N. Central Ave., Suite 600                                                   Glendale         CA        91203
 Phillippe P. Dauman                                                                               712 Fifth Avenue, Suite 3801           Suite 3801                                New York         NY        10019
 PITNEY BOWES GLOBAL FINANCIAL SVC                                                                 PO BOX 371887                                                                    PITTSBURGH       PA        15250-7887
 PITNEY BOWES INC.                                                                                 PO BOX 371896                                                                    PITTSBURGH       PA        15250-7896
 PNC EQUIPMENT FINANCE LLC                                                                         PO BOX 51657                                                                     LOS ANGELES      CA        90051-5957
 PNC EQUIPMENT FINANCE, LLC                                                                        655 BUSINESS CENTER DRIVE              SUITE 150                                 HORSHAM          PA        19044
 POSSIBLE Worldwide LLC                                    Brian Gottschalk - Project Manager      414 OLIVE WAY                          SUITE 500                                 SEATTLE          WA        98101
 POSSIBLE Worldwide LLC                                    Jonathan Blaugrund - Account Manager    414 OLIVE WAY                          SUITE 500                                 SEATTLE          WA        98101
 POSSIBLE WORLDWIDE, LLC                                                                           PO BOX 8500                                                                      PHILADELPHIA     PA        19178-4356
 ProSight Specialty Insurance                                                                      101 N. Brand Blvd.                     Suite 1200                                Glendale         CA        91203
 PUBLIC STORAGE                                                                                    3810 EAGLE ROCK BLVD                                                             LOS ANGELES      CA        90065
 Purchase Power                                                                                    PO BOX 371874                                                                    PITTSBURGH       PA        15250-7874
 Qwest Broadband Services, Inc.                            Attn Manager, Video Content             1801 California Street, 34th Floor                                               Denver           CO        80202
 Qwest Broadband Services, Inc.                            Daren Miller                            1801 California St., 34th Floor                                                  Denver           CO        80202
                                                                                                                                           1801 California Street, 9th
 Qwest Broadband Services, Inc.                            Qwest Legal Department                  Attn Video Content Acquisition Attorney Floor                                    Denver           CO        80202
 Rainbow Media Holdings LLC                                                                        11 Penn Plaza                                                                    New York         NY        10001
 RAINBOW MEDIA HOLDINGS LLC                                                                        11 PENN PLAZA - 16TH FLOOR                                                       NEW YORK         NY        10001
 Rainbow Network Communications                            Attn Senior Vice President              620 Hicksville Road                                                              Bethpage         NY        11714
 Rainbow Network Communications                            Rainbow Media Holdings LLC              Attn General Counsel                    11 Penn Plaza                            New York         NY        10121
 RCN Telecom Services, Inc., on behalf of itself and its                                                                                   196 Van Buren Street, Suite
 direct and indirect subsidiaries                                                                  Presidents Plaza, Building One          300                                      Herndon          VA        20170
 Rentrak Corporation                                       Julia Carroll                           7 Penn Plaza, 10th Fl                                                            New York         NY        10001

 Revolution Studios Distribution Company, LP               Attn Scott Hemming                      225 Santa Monica Boulevard, 9th Floor                                            Santa Monica     CA        90401
 Roggero, Mike                                             c/o Fuse Media                          700 N. Central Ave., Suite 600                                                   Glendale         CA        91203
 ROSE DIGITAL                                                                                      530 7TH AVENUE                        STE 505                                    NEW YORK         NY        10018
 Royal Specialty Underwriting, Inc.                                                                645 East Paces Ferry Road             Suite 1800                                 Atlanta          GA        30326-1160
 S&P GLOBAL MARKET INTELLIGENCE, LLC                                                               PO BOX 414624                                                                    BOSTON           MA        02241-4624
 Sarstone Specilaity Insurance Company                                                             185 Hudson Street                     Suite 2600                                 Jersey City      NJ        07311




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 Satellite Receivers Ltd.                               Attn Tim Mancoske                             1740 Cofrin Drive, Suite 2                                                   Green Bay       WI       54302
 Schwimmer, Michael                                     c/o Fuse Media                                700 N. Central Ave., Suite 600                                               Glendale        CA       91203
 SCN Enterprises                                        c/o Fuse Media                                700 N. Central Ave., Suite 600                                               Glendale        CA       91203
 Service Electric Cable TV of New Jersey, Inc. and
 Service Electric Company                                                                             320 Sparta Avenue                                                            Sparta          NJ       07871
 Seville Pictures Inc., dba Seville International       Attention Business & Legal Affairs Dept.      455, St. Antoine                       Ouest, Bureau 300                     Montreal        Quebec   H2Z 1J1      Canada

 SHAREABLEE                                                                                           123 WILLIAM STREET - 19TH FLOOR                                              NEW YORK        NY       10038
 Shareablee (Research)                                  Wei Yun Lim                                   123 WILLIAM STREET              19TH FLOOR                                   NEW YORK        NY       10038
 SintecMedia (MKE) Inc. (f/k/a SintecMedia (StorerTV)
 Inc., f/k/a StorerTV Inc.)                                                                           1355 West Towne Square Road                                                  Mequon          WI       53092
 Society of European Stage Authors and Composers        Attn Christos Badavas, SVP & General
 LLC                                                    Counsel                                       152 West 57th St, 57th Floor                                                 New York        NY       10019
 Society of European Stage Authors and Composers
 LLC                                                    Attn Senior VP of Licensing Operations        35 Music Square East                                                         Nashville       TN       37203
 Society of European Stage Authors and Composers,
 Inc.                                                                                                 PO BOX 5246                                                                  NEW YORK        NY       10008-5246
                                                        Attn Executive Vice President and General
 SONY BMG Music Entertainment                           Counsel, Law Department                       550 Madison Avenue                                                           New York        NY       10022
                                                        Attn Executive Vice President, Business
 SONY BMG Music Entertainment                           Affairs and Administration                    550 Madison Avenue                                                           New York        NY       10022
 SONY BMG MUSIC ENTERTAINMENT                                                                         9830 WILSHIRE BLVD                                                           BEVERLY HILLS   CA       90212
 SONY BMG Music Entertainment (for itself and on        the predecessor-in-interest to Sony Music     Attn Executive Vice President, Business
 behalf of each SONY BMG Label)                         Entertainment                                 Affairs & General Counsel               550 Madison Avenue                   New York        NY       10022
 SONY BMG Music Entertainment (for itself and on        the predecessor-in-interest to Sony Music     Attn Executive Vice President, Global
 behalf of each SONY BMG Label)                         Entertainment                                 Digital Business Affairs                550 Madison Avenue                   New York        NY       10022
 SONY MUSIC ENTERTAINMENT                                                                             25 MADISON AVENUE FL 22 - 416                                                NEW YORK        NY       10010-8601
 SONY PICTURES ENTERTAINMENT                                                                          FILE #53771                                                                  LOS ANGELES     CA       90074-3771
 SONY PICTURES TELEVISION                                                                             21872 NETWORK PLACE                                                          CHICAGO         IL       60673-1218
                                                        Christopher Elwell, Executive Vice President,
                                                        Distribution Business Operations and
 Sony Pictures Television Inc.                          Strategy                                      21872 NETWORK PLACE                                                          CHICAGO         IL       60673-1218
 SONY/ATV MUSIC PUBLISHING                                                                            PO BOX 415000                                                                NASHVILLE       TN       37241-0768
 Southern Vermont Cable Company                         Ernest Scialabba, President                   PO Box 166                             62 Sylvan Ridge Rd.                   Bondville       VT       05340
 Stability Technology Partners, LLC                     Attn Devon Zopfi                              2301 E 7th Street                      Unit A-125                            Los Angeles     CA       90023
 Standard & Poors                                                                                     2542 Collection Center Drive                                                 CHICAGO         IL       60693
 Standard & Poors Ratings Services                      Client Business Manager                       2542 COLLECTION CENTER DRIVE                                                 CHICAGO         IL       60693
 Standard & Poors Ratings Services                      Credit Market Fee Services Department         2542 COLLECTION CENTER DRIVE                                                 CHICAGO         IL       60693
 Star Media Enterprises, Inc.                                                                         1080 Belcher Rd.                                                             Dunedin         FL       34698
 State of California Franchise Tax Board                FRANCHISE TAX BOARD                           PO BOX 942857                                                                Sacramento      CA       94257-4040
 State of Delaware Division of Corporations                                                           Post Office Box 5509 - 5509                                                  Binghampton     NY       13902
                                                                                                      Lucentem Sports & Entertainment Law
 Strangers In The Night Inc.                            Atnn Layth Gafoor                             PC                                     137 Berkeley Street                   Toronto         ON       M5A 2X1      Canada
                                                                                                                                             25B Vreeland Road, Suite
 Strangers In The Night Inc.                            Strangers In The Night Inc. f/s/o Luis Diaz   c/o Piemonte & Liebhauser LLC          104                                   Florham Park    NJ       07932
 Suddenlink Communications                              Patty McCaskill, SVP, Programming             12444 Powerscourt Drive Suite 450                                            Saint Louis     MO       63131
 SureWest TeleVideo                                     Attn Haavard Sterri, Director of Marketing    5411 Luce Ave                                                                McClellan       CA       95652
 SureWest TeleVideo                                     Attn SVP - COO                                200 Vernon Street                                                            Roseville       CA       95678
                                                        Attn Stacy Lasak, Account Relationship
 Susquehanna Commercial Finance, Inc.                   Specialist                                    2 Country View Road, Suite 300                                               Malvern         PA       19355

 Syndicated Communications Venture Partners IV, LP      Terry Jones                                   4800 Hampden Lane                      Suite 200                             Bethseda        MD       20814
 Syndicated Communications, Inc.                        Herb Wilkins, Jr.                             2400 Boston Street                     Suite 102                             Baltimore       MD       21224
 T. Howard Foundation                                                                                 601 13th Street, NW, Suite 710 North                                         WASHINGTON      DC       20005
 TALENT HUB WORLDWIDE INC.                                                                            52 VANDERBILT AVE                      SUITE 1410                            NEW YORK        NY       10017
 TalentHub Worldwide, Inc.                              Attn Pat Christopher, President               220 East 42nd Street                   Suite 407                             New York        NY       10017
 Tennenbaum Capital Partners                                                                          2951 28th Street, Suite 1000           Suite 1000                            Santa Monica    CA       90405
 Tennis Channel                                         c/o Fuse Media                                700 N. Central Ave., Suite 600                                               Glendale        CA       91203

 The Agency Film Group, LLC dba Agency Media Group Shawn Laska, President                             270 W. Duarte Rd.                      Suite C                               Monrovia        CA       91016
 The Board of Water, Light, & Sinking Fund         Hank Blackwood, Chief Technical Services
 Commissioners d/b/a Dalton Utilities              Officer                                            1200 V D PARROTT JR PKWY               PO BOX 869                            DALTON          GA       30721
 THE FILM SALES COMPANY                                                                               165 MADISON AVE, SUITE 601                                                   NEW YORK        NY       10016
 The Gage & Acanto Restaurants                                                                        24 South Michigan Avenue                                                     Chicago         IL       60603
 The Grapevine Agency                                                                                 139 Beverly Drive                      #334                                  Beverly Hills   CA       90212




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 THE HIRED GUNS MARKETING CONSULTING GRP                                                             33 WEST 17TH STREET 7TH FLOOR                                                     NEW YORK         NY      10011
 The Madison Square Garden Company       c/o Fuse Media                                              700 N. Central Ave., Suite 600                                                    Glendale         CA      91203
 The Madison Square Garden Company       Lawrence J. Burian                                          Two Pennsylvania Plaza                                                            New York         NY      10121
                                                                                                     Attn General Counsel - Global Media
 The Nielsen Company (US), LLC                           The Nielsen Company                         Client Services                         85 Broad Street                           New York         NY      10004
                                                                                                     Attn Senior Vice President - Finance,
 The Nielsen Company (US), LLC                           The Nielsen Company                         Global Media Client Services            85 Broad Street                           New York         NY      10004
 The Nielsen Company (US), LLC                                                                       85 Broad Street                                                                   New York         NY      10004
 The Pocketbook Agency, LLC                                                                          7906 Santa Monica Blvd                  Suite #208                                West Hollywood   CA      90046
 This Is Just A Test Media, LLC                                                                      1200 Venice Blvd, 2nd Floor                                                       Los Angeles      CA      90006
 Tier 2 Films, Inc.                                      Attn Ric Atari                              11720 Amber Park Drive                                                            Alpharetta       GA      30009
 Time Warner                                             Allison Goldberg                            One Time Warner Center                                                            New York         NY      10019
 Time Warner Cable                                                                                   290 Harbor Drive                                                                  Stamford         CT      06902
                                                         Attn Executive Vice President and General
 Time Warner Cable Inc.                                  Counsel                                     290 Harbor Drive                                                                  Stamford         CT      06902

 Time Warner Cable Inc.                                  Attn Executive Vice President, Programming 290 Harbor Drive                                                                   Stamford         CT      06902
 TOSHIBA FINANCIAL SERVICES                                                                         PO BOX 35701                                                                       BILLINGS         MT      9107--5701
 Toshiba Financial Services                                                                         PO Box 51043                                                                       LOS ANGELES      CA      90051-5343
 TUBULAR LABS                                                                                       PO BOX 7775 #96345                                                                 SAN FRANCISCO    CA      94120-7775
 Tubular Labs Inc.                                                                                  153 Castro Street, Suite 300                                                       Mountain View    CA      94041
 TVMAX Corporate, Inc.                                   Attn Kenny Walker, General Manager         10300 Westoffice Drive, Suite 200                                                  Houston          TX      77042
 Twentieth Television, Inc., as distribution agent for
 Twentieth Century Fox Film Corporation                  Attn Business and Legal Affairs             2121 Avenue of the Stars                                                          Los Angeles      CA      90067

 Twentieth Television, Inc., as distribution agent for   Attn Senior Vice President, General Sales
 Twentieth Century Fox Film Corporation                  Manager, Basic Cable, Twentieth Television P.O. Box 900                                                                       Beverly Hills    CA      90213
 U.S. Bank Equipment Finance, a division of U.S. Bank
 National Association                                    Attn Insurance                              1310 Madrid Street                                                                Marshall         MN      56258
 U.S. Bank Equipment Finance, a division of U.S. Bank
 National Association                                    Attn Jeff Bump                              1310 Madrid Street                                                                Marshall         MN      56258
                                                         Attn General Counsel and EVP, Legal &
 UMG Recordings, Inc.                                    Business Affairs                            2220 Colorado Avenue                                                              Santa Monica     CA      90404
 UniFi Equipment Finance, Inc.                           Monica Starr                                3893 Research Park Drive                                                          Ann Arbor        MI      48108
                                                         Attn Allison Roarty, SVP, Business and      NBCUniversal, Television and New        30 Rockefeller Plaza, 15
 Universal City Studios Productions LLLP                 Legal Affairs                               Media Distribution                      Floor East                                New York         NY      10112
                                                                                                     NBCUniversal, Television and New        30 Rockefeller Plaza, 15
 Universal City Studios Productions LLLP               Attn Justin Kaufman                           Media Distribution                      Floor East                                New York         NY      10112
 Univision Interactive Media                           c/o Fuse Media                                700 N. Central Ave., Suite 600                                                    Glendale         CA      91203
 US BANK EQUIPMENT FINANCE                                                                           PO BOX 790448                                                                     ST LOUIS         MO      63179-0448
 USI INSURANCE SERVICES NATIONAL                                                                     PO BOX 39000                                                                      SAN FRANCISCO    CA      94139-0001
 Valparaiso Cable Authority d/b/a Valparaiso Broadband
 Communication Services                                Attn Jesse Mason                              465 Valparaiso Parkway                                                            Valparaiso       FL      32580-0000
 VAR RESOURCES, LLC                                                                                  2330 INTERSTATE 30                                                                MESQUITE         TX      75150
 VERIZON                                                                                             PO BOX 15043                                                                      ALBANY           NY      12212
                                                       Attn FiOS TV Business & Legal Affairs,
 Verizon Corporate Services Group Inc.                 Assoc. General Counsel                        Verison FiOS TV                         140 West St., 27th Floor                  New York         NY      10007
                                                       Attn Vice President, FiOS TV Programming
 Verizon Corporate Services Group Inc.                 & Content Acquisition                         Verizon FiOS TV                         140 West St., 22nd Floor                  New York         NY      10007

 Verizon Corporate Services Group Inc.                   Attn Vice President, Legal & Business Affairs SiTV, Inc.                            3030 Andrita Street, Bldg. D              Los Angeles      CA      90065
                                                         Attn FiOS TV Business & Legal Affairs,
 Verizon Services Corp.                                  Assoc. General Counsel                        Verizon FiOS TV                       140 West St., 22nd Floor                  New York         NY      10007
                                                                                                                                             1320 N. Courthouse Rd. -
 Verizon Services Corp.                                  Attn Legal & Business Affairs               Verizon FiOS TV                         9th Floor                                 Arlington        VA      22201
 Verizon Services Corp.                                  Attn Terry Denson                           140 West Street                                                                   New York         NY      10007
                                                         Attn Vice President, FiOS TV Programming
 Verizon Services Corp.                                  & Content Acquisition                       Verizon FiOS TV                         140 West St., 22nd Floor                  New York         NY      10007
                                                         Attn Vice President, FiOS TV Programming
 Verizon Services Corp.                                  and Content Acquisition                     Verizon FiOS TV                         140 West Street, 22nd Floor               New York         NY      10007
 VERIZON WIRELESS                                                                                    PO BOX 660108                                                                     DALLAS           TX      75266
 VERREX LLC                                                                                          1130 ROUTE 22 WEST                                                                MOUNTAINSIDE     NJ      07092
 VISION SERVICE PLAN (CA)                                                                            PO BOX 45210                                                                      SAN FRANCISCO    CA      94145
 Vogue Sign Company                                                                                  715 Commercial Avenue                                                             Oxnard           CA      93030
 Volt Management Corp                                                                                PO BOX 679307                                                                     DALLAS           TX      75267-9307




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                                                                                                       Contract Counter-Parties and Vendors
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 CreditorName                                       CreditorNoticeName                         Address1                                 Address2                  Address3   City            State   Zip          Country
 Volt Workforce Solutions, a division of Volt
 Management Corp.                                   Attn Director of Contracts                 2401 North Glassell Street                                                    Orange          CA      92865
 Volt Workforce Solutions, a division of Volt
 Management Corp.                                   Attn Legal Department                      2401 North Glassell Street                                                    Orange          CA      92865
 VORNADO ELEVEN PENN PLAZA                                                                     PO BOX 392053                                                                 PITTSBURGH      PA      15251-9053
                                                    Controller, Vubiquity Entertainment        15301 Ventura Blvd., Building E, Suite
 Vubiquity, Inc.                                    Corporation                                3000                                                                          Sherman Oaks    CA      91403
                                                    Gabe Berger, Executive Vice President,
                                                    Sales, North America, Vubiquity            15301 Ventura Blvd., Building E, Suite
 Vubiquity, Inc.                                    Entertainment Corporation                  3000                                                                          Sherman Oaks    CA      91403
                                                    General Counsel, Vubiquity Entertainment   15301 Ventura Blvd., Building E, Suite
 Vubiquity, Inc.                                    Corporation                                3000                                                                          Sherman Oaks    CA      91403
 Warner Bros. Domestic Television Distribution, a                                                                                       4000 Warner Boulevard,
 division of Warner Bros.                           Worldwide Television Distribution Inc.     Attn VP, Business and Legal Affairs      Bldg. 118, Room 4027                 Burbank         CA      91522
 Warner Bros. Domestic Television Distribution, a   Worldwide Television Distribution Inc.
 division of Warner Bros.                           Warner Bros. Entertainment, Inc.           Attn General Counsel                     4000 Warner Blvd                     Burbank         CA      91522
 Warren Lamb & Associates, Inc.                     Brian Pearman, Executive VP for Sales      1738 SYLVAN HILL ROAD                                                         ELIZABETHTON    TN      37643
 We Buy Gold, Inc.                                                                             5877 Rodeo Drive                                                              Los Angeles     CA      90016
 Western Equipment Finance, Inc.                                                               503 Highway 2 West                                                            Devils Lake     ND      58301
 WeWork                                             Attn Mollie Foley                          20 W Kinzie Tenant LLC                   20 West Kinzie Street                Chicago         IL      60654
 WIDE ORBIT INC                                                                                DEPT CH 17518                                                                 PALATINE        IL      60055
 Wilkes Communications, Inc.                        Mr. C.E. Ritenour, Jr.                     1400 River Street                                                             Wilkesboro      NC      28697
 WILMINGTON TRUST COMPANY                                                                      PO BOX 8955                                                                   WILMINGTON      DE      19899
 WILMINGTON TRUST, NATIONAL ASSOCIATION,
 AS COLLATERAL AGENT                                                                           50 SOUTH SIXTH STREET                    SUITE 1290                           MINNEAPOLIS     MN      55402
 Wilo Group LLC dba Percent Gray                    Lauren Espiritu-Philson                    145 Gregory Avenue                                                            West Orange     NJ      07052
 Wolfe Video, LLC                                   Attention Miguel Johnson                   21570 Almaden Road                                                            San Jose        CA      95120
 WORKSHARE TECHNOLOGY                                                                          650 CALIFORNIA STREET                    7TH FLOOR                            SAN FRANCISCO   CA      94108
 XUMO LLC                                                                                      4 PARK PLAZA                             STE 1500                             IRVINE          CA      92614
 Yoh Services LLC                                   Robin Johnson, SVP, Enterprise Solutions   1500 Spring Garden Street                                                     Philadelphia    PA      19130
 ZED                                                                                           39 rue de Prairies 75020                                                      PARIS                                FRANCE




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Company                                     Email
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Bank of America DTC #773 #5198              cpactionslitigation@ml.com
Bank of America DTC #773 #5198              bascorporateactions@bofasecurities.com
Bank of America DTC #773 #5198              corpactionsproxy@ml.com
Barclays #229                               nyvoluntary@barclays.com
Bloomberg                                   release@bloomberg.net
BMO Nesbitt Burns Inc. DTC# 5043            Phuthorn.penikett@bmonb.com
BMO Nesbitt Burns Inc. DTC# 5043            WMPOClass.Actions@bmo.com
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BNY Mellon #954                             athompson@bnymellon.com
Broadridge                                  SpecialProcessing@broadridge.com
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Brown Brothers #10                          sean.imhof@bbh.com
Brown Brothers #10                          michael.lerman@bbh.com
Brown Brothers #10                          nj.mandatory.inbox@bbh.com
Brown Brothers #10                          mavis.luque@bbh.com
Brown Brothers #10                          edwin.ortiz@bbh.com
Charles Schwab #164                         phxmcbr@schwab.com
Charles Schwab #164                         VoluntarySetup@schwab.com
Citi #908                                   gts.caec.tpa@citi.com
Clearstream International SA                ca_mandatory.events@clearstream.com
Clearstream International SA                CA_general.events@clearstream.com
Credit Agricole Secs USA Inc. #651          CSICorpActions@ca-cib.com
Credit Suisse Securities (USA) LLC #355     list.nyevtintgrp@credit-suisse.com
Credit Suisse Securities (USA) LLC #355     asset.servnotification@credit-suisse.com
Deutsche Bank Securities Inc #573           jaxca.notifications@db.com
Euroclear Bank S.A./N.V.                    drit@euroclear.com
Euroclear Bank S.A./N.V.                    ca.omk@euroclear.com
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Goldman Sachs & Co                          NewYorkAnncHub@gs.com
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Mitsubishi UFJ Trust & Banking Corp #2932   corporateactions-dl@us.tr.mufg.jp
Morgan Stanley #15                          usproxies@morganstanley.com
Morgan Stanley #15                          proxy.balt@morganstanley.com
Morgan Stanley #15                          cavsdom@morganstanley.com
Morgan Stanley #15                          Raquel.Del.Monte@morganstanley.com
Morgan Stanley #15                          john.falco@morganstanley.com
Morgan Stanley #15                          robert.cregan@morganstanley.com
Northern Trust Company #2669                cs_notifications@ntrs.com
OptionsXpress #338                          proxyservices@optionsxpress.com
Pershing #443                               pershingcorporateactions@pershing.com
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SEI PV/GWP #2663                            gwsusopscaincome@seic.com
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State Street Bank and Trust Co #997     jkkyan@statestreet.com
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UBS                                     ol-stamfordcorpactions@ubs.com
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UBS                                     ol-wma-ca-proxy@ubs.com
UBS                                     sh-wma-caproxyclassactions@ubs.com
UBS Securities LLC #642                 OL-EVENTMANAGEMENT@ubs.com
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                            Contract Counter-Parties and Vendors
                                  Served via Electronic Mail

          CreditorName                 CreditorNoticeName Email
          RHO CAPITAL PARTNERS, INC    CAROLINE CUMMINGS ccummings@rho.com




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